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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

United States of America,                                     Case No. 3:12cr262-15

               Plaintiff(s)

               -vs

Sara Rinebolt,                                        JUDGE DAVID A. KATZ

              Defendant

                                             ORDER

       This is a criminal case which was referred to United States Magistrate Judge James R.

Knepp, II for the taking, on consent of the parties, of a plea of guilty. The Magistrate Judge has

filed his Report & Recommendations; no objection has been filed.

       Having determined that the Magistrate Judge satisfied all requirements of Fed.R.Crim.

P. 11 and the United States Constitution: he correctly found the defendant to be competent,

aware of the charge and consequences of conviction and his rights and waiver thereof. The

Magistrate also correctly found that the defendant had consented to proceed before the

Magistrate Judge and tendered his plea of guilty knowingly, intelligently and voluntarily. Finally,

the Magistrate Judge also correctly found that there was an adequate factual basis for the plea.

       On de novo review of the record and Report & Recommendation, I accept and

adopt the Magistrate Judge’s findings, and conclude that the defendant’s plea of guilty

conforms to all applicable provisions of Rule 11 and the Constitution.

       In light of those findings and that conclusion, it is hereby

       ORDERED THAT the defendant’s plea of guilty is accepted and a finding of guilty shall

be entered, and the defendant , if not previously referred by the Magistrate, shall be referred to

the United States Probation Office for a presentence investigation.

       IT IS SO ORDERED.
                                                      /s/ David A. Katz 1/3/2013
                                                      SENIOR JUDGE US DISTRICT COURT
